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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

ARBUTUS BIOPHARMA CORPORATION                             :
and GENEVANT SCIENCES GMBH,                               :
                                                          :   CIVIL ACTION
                                Plaintiffs,               :
                                                          :
                v.                                        :
                                                          :   NO. 22-252
MODERNA, INC. and MODERNATX, INC.,                        :


                                               ORDER

        AND NOW, this 16th day of February, 2023, following a scheduling conference, it is hereby

ORDERED that within fourteen (14) days from the date of this Order, the parties and the U.S.

Government shall submit a letter of no more than ten pages regarding the impact of the Government’s

Statement of Interest on the scheduling of this matter.



                                                BY THE COURT:



                                                /s/ Mitchell S. Goldberg
                                                MITCHELL S. GOLDBERG, J.
